USCA4 Appeal: 25-1397           Doc: 14               Filed: 04/21/2025       Pg: 1 of 1

                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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                                                    25-1397                       as

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  [ ]Pro Bono [ ]Government

               North Carolina Alliance for Retired Americans; VoteVets Action Fund;
  COUNSEL FOR: _______________________________________________________________________

  Tanya Webster-Durham; Sarah Smith; Juanita Anderson
  __________________________________________________________________________________ as the
                                                      (party name)

  ✔ appellant(s)      appellee(s)     petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


  /s/ Tina Meng Morrison
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